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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,             STIPULATION REGARDING
                                                         CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                  Defendant.
15

16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
20          1.      By previous order, this matter was set for sentencing on Monday, June 26, 2017, at

21 10:00 a.m.

22          2.      By this stipulation, the parties now move to continue the matter to Monday, October
23
     30, 2017, at 10:00 a.m.
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            3.      The parties further stipulate to the following schedule:
25
            Informal Objections Due:                                      October 2, 2017
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27          Final PSR Filed with the Court:                               October 10, 2017

28          Formal Objections to PSR/Sentencing Memo due:                 October 16, 2017
                                                 1
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         Case 1:15-cr-00286-ADA-BAM Document 227 Filed 04/13/17 Page 2 of 2


          Responses to Formal Objections/Reply to Sentencing Memo:     October 23, 2017
 1
          IT IS SO STIPULATED.
 2

 3
     DATED:     April 12, 2017      Respectfully submitted,
 4
                                    PHILLIP A. TALBERT
 5                                  United States Attorney

 6
                                    /s/ Karen A. Escobar
 7                                  KAREN A. ESCOBAR
                                    Assistant United States Attorney
 8
 9 DATED:       April 12, 2076

10                                  /s/ Edward Robinson
                                    EDWARD ROBINSON
11                                  Counsel for Defendant
                                    Zaid Elodat
12

13
                                           ORDER
14

15 IT IS SO ORDERED.

16     Dated:   April 13, 2017
                                               UNITED STATES DISTRICT JUDGE
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